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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
SHIRLEY A. CARPIN, as Executor of the        :
Estate of SHIRLEY A. HILSTER, Deceased       :            W.D. PA. No.: 2:20-CV-01537-MJH
and CHARLES W. HILSTER, JR.,                 :
Individually,                                :            ASBESTOS CASE
                                             :
                                 Plaintiffs, :
                                             :
              -against-                      :
                                             :
AIR & LIQUID SYSTEMS CORPORATION, :
as successor by merger to BUFFALO PUMPS :
INC., et al.,                                :
                                             :
                                Defendants. :

        MOTION FOR VOLUNTARY DISMISSAL OF CERTAIN DEFENDANTS

       AND NOW come Defendants, by lead defense counsel, Wilbraham, Lawler & Buba and

Jennifer E. Watson, Esquire, and set forth the following Motion for Voluntary Dismissal of

Certain Defendants.

       Plaintiffs, Shirley A. Carpin, as Executor of the Estate of Shirley A. Hilster, Deceased,

and Charles W. Hilster, Jr., Individually, by and through their counsel, Dean Omar Branham

Shirley, LLP and Benjamin D. Braly, Esquire, and Caroselli, Beachler & Coleman, LLC and

Craig E. Coleman, Esquire, have indicated their intent and wish to voluntarily dismiss their

claims without prejudice against the following defendants ONLY in this action.

 A. O. Smith Corporation
 Armstrong International, Inc.
 Carboline Company
 Copes-Vulcan, Inc.
 Crosby Valve, LLC
 DCo LLC, f/k/a Dana Companies, LLC
 DeZurik, Inc.
 Eaton Hydraulics LLC, as successor-by-merger to Eaton Hydraulics, Inc. as
 successor-in-interest to Vickers Inc.
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 Electrolux Home Products, Inc. as successor in interest to Copes-Vulcan
 Emerson Electric Co., incorrectly designated as Emerson Electric Co.,
 Individually and as successor in interest to Copeland Corporation
 FirstEnergy Corp.
 Flowserve Corporation f/k/a The Duriron Company Inc.
 FMC Corporation, on behalf and its former Peerless Pump and Northern Pump
 businesses, improperly sued as “FMC Corporation”
 I.U. North America, Inc., as successor by merger to The Garp Company, f/k/a
 The Gage Company, f/k/a Pittsburgh Gage and Supply Company
 Niantic Seal, Inc.
 Niantic Seal RIP, Inc.
 Pennsylvania Electric Company
 Schneider Electric Systems, USA, Inc. f/k/a Invensys Systems, Inc. f/k/a
 Foxboro Company
 Spence Engineering Company, Inc.
 The Goodyear Tire and Rubber Company
 Viking Pump, Inc.
 Weir Valves & Controls USA Inc. (individually and as successor-in-interest to
 Atwood & Morrill Co., Inc.)

       1.      Plaintiffs wish to dismiss their claims against the Defendants listed above in

relation to this action, with each side bearing its own costs. The case will proceed against all

other Defendants.

       2.      All Defendants have consented to the dismissal of all cross-claims against the

Defendants listed above.


       WHEREFORE, Lead Defense Counsel asks that this Court dismiss Plaintiffs’ claims and

all cross-claims without prejudice against the Defendants listed above only, with the case

proceeding against all other defendants.
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                                   Respectfully submitted,

                                   WILBRAHAM, LAWLER & BUBA

                                By: /s/ Jennifer E. Watson
                                   Jennifer E. Watson, Esquire (I.D. No. 78664)
                                   603 Stanwix Street Suite 17 North
                                   Pittsburgh, PA 15222
                                   jwatson@wlbdeflaw.com
                                   412-255-0500
                                   Lead Defense Counsel
DATE: April 1, 2022
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
SHIRLEY A. CARPIN, as Executor of the        :
Estate of SHIRLEY A. HILSTER, Deceased       :             W.D. PA. No.: 2:20-CV-01537-MJH
and CHARLES W. HILSTER, JR.,                 :
Individually,                                :             ASBESTOS CASE
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                                 Plaintiffs, :
                                             :
              -against-                      :
                                             :
AIR & LIQUID SYSTEMS CORPORATION, :
as successor by merger to BUFFALO PUMPS :
INC., et al.,                                :
                                             :
                                Defendants. :

                                CERTIFICATE OF SERVICE

       I hereby certify that April 1, 2022, I electronically filed the foregoing Motion for

Voluntary Dismissal of Certain Defendants using the CM/ECF system, and I hereby certify that I

have thereby electronically served this document upon all counsel of record who are registered

with the Court’s CM/ECF system.



                                             Jennifer E. Watson
                                             Jennifer E. Watson, Esquire
                                             Lead Defense Counsel
